              Case 22-972, Document 15, 05/17/2022, 3316037, Page1 of 2




                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                        CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                 CLERK OF COURT

Date: May 17, 2022                                          DC Docket #: 20-cv-2803
Docket #: 22-972                                            DC Court: SDNY (NEW YORK
Short Title: Lee v. Binance                                 CITY)
                                                            DC Judge: Carter



                              NOTICE OF DEFECTIVE FILING



On May 13, 2022 the Form C, on behalf of the Appellant JD Anderson et al., was submitted in
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              Case 22-972, Document 15, 05/17/2022, 3316037, Page2 of 2




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Inquiries regarding this case may be directed to 212-857-8512.
